    Case: 3:17-cr-50083 Document #: 23 Filed: 09/21/18 Page 1 of 5 PageID #:176




                               IN THE
                    UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                          WESTERN DIVISION

UNITED STATES OF AMERICA                      )
                                              )
      v.                                      )    Judge Philip G. Reinhard
                                              )    Case No. 17CR50083
                                              )
TROY POWELL                                   )



                     Supplemental Sentencing Memorandum


     Troy Powel by the Federal Defender Program, John F. Murphy Executive

Director and Paul E. Gaziano one of his assistants provides this Memorandum as

suggested conditions of supervised release.

      Introduction

      The Court scheduled a hearing on September 19, 2018 for the purpose of

determining the conditions of supervised release in this matter. Defense counsel

requested a short continuance due to counsel’s having been ill for several days

before the scheduled hearing and due to having only receiving the probation

office’s supplemental report dated September 18, 2018 the morning of the

hearing. The Court granted a short continuance. Defense counsel met with Mr.

Powell and reviewed the conditions of supervised release sought by the
                                       1
    Case: 3:17-cr-50083 Document #: 23 Filed: 09/21/18 Page 2 of 5 PageID #:177




probation office. Mr. Powell now submits his agreements, objections, and

disputes with those conditions

Mandatory Conditions of Supervised Release

1. No objection.

3. No objection

5. No objection

6. No objection

7. Mr. Powell maintains his objection to the inclusion of this condition as sought

by the probation office. He would not object to no more than 4 periodic tests per

year.

Discretionary Conditions

4. No objection

6. 6(a) no objection; 6(b) no objection except would want the restriction not to

apply to Chessica Bellows; 6(c) no objection

7. Object to the requirement of total abstention from alcohol. No objection to the

excessive use of alcohol defined as having a blood alcohol concentration greater

than 0.08.

8. No objection.

9. 9(b). No objection, but Mr. Powell is concerned that the Probation Office may

                                         2
     Case: 3:17-cr-50083 Document #: 23 Filed: 09/21/18 Page 3 of 5 PageID #:178




require him to travel for the purpose of fulfilling this requirement.

14. No objection

15. No objection.

16. 16(a) no objection; 16(b) no objection 16(c) no objection if community service

location is stricken.

17. No objection

18. No objection

23. Mr. Powell maintains his objection to this condition. See Sentencing

Memorandum.

        Special Conditions of Supervised Release.

9. Mr. Powell maintains his objection to the condition of Sex Offender Treatment,

however, in appreciation of the Court’s comments Mr. Powell understands the

reasoning behind this requirement. Mr. Powell agrees that any testing will not

include plethysmography studies. Mr. Powell seeks limitations on the use of

polygraph tests by the treatment provider to ensure compliance with the

treatment program’s requirements and restrictions.1 However, the requirement

for polygraph examination must be viewed according to constitutional

limitations. The paragraph requiring participation in polygraph examination


1 United States v. Brewster, 627 Fed. Appx, 567, 570 (7th Cir.2015)
                                                     3
      Case: 3:17-cr-50083 Document #: 23 Filed: 09/21/18 Page 4 of 5 PageID #:179




should include the phrase subject to constitutional limitations and the failure to

answer a question based upon a Constitutional right shall not be a basis for

revocation of supervised release even if that refusal leads to dismissal from the

treatment program.2

9 (b); 9(c). Mr. Powell maintains his objections to paragraphs 9 (b); 9(c).

9(d).    No objection.

9(e). No objection but objection is made to the incorporation of Special

Condition 14.

9 (f).   No objection

9(g). No objection

9(h). Mr. Powell maintains his objection.

11.      No objection

13.      Mr. Powell maintains his objection to the wording of this condition. He

asks the court to use the wording suggested in Mr. Powell’s sentencing

memorandum. Mr. Powell objects to the language of 13 (d). This suggestion

ignores the reality of being a landlord. The Court should if necessary provide

that Mr. Powell should not be present in any of the rented apartments while a

minor child is present unless that child’s parent, guardian, or adult care giver is


2 United States v. Von Behren, 822 F.3d 1139, 1150-1151 (10th Cir. 2016)
                                                     4
    Case: 3:17-cr-50083 Document #: 23 Filed: 09/21/18 Page 5 of 5 PageID #:180




present.

Additional Comments.

      Mr. Powell understands that the Probation Office is able in its discretion

determine the place of mental health treatment and sex offender treatment. Mr.

Powell is now required to travel from his home in Rock Falls, Illinois to Winfield,

Illinois for the purpose of treatment. This is approximately a 97 mile one way

trip. There are other sex offender treatment providers located within the Western

Division of this district. There are other sex offender treatment providers closer

to Mr. Powell’s residence even though these might be outside of this district. Mr.

Powell asks the Court to consider directing the probation office to determine

why these more convenient and licensed providers cannot be used.



                                             Respectfully submitted:
                                             FEDERAL DEFENDER PROGRAM
                                             John F. Murphy
                                             Executive Director

                                             By: ____/s/___________________
                                                   Paul E. Gaziano
                                             Attorneys for Defendant

PAUL E. GAZIANO
FEDERAL DEFENDER PROGRAM
401W. State Street - Suite 800
Rockford, IL 61101
(815) 961-0800
                                         5
